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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA

                                      (Alexandria Division)


 THOMAS PORTER, et al.,                              )
                                                     )
        Plaintiffs,                                  )
                                                     )
 v.                                                  ) C.A. #1:14-cv-1588 (LMB/IDD)
                                                     )
 HAROLD W. CLARKE, et al.,                           )
                                                     )
        Defendants.                                  )



                                      NOTICE OF APPEAL

        Plaintiffs Thomas Porter, Mark Lawlor, Anthony Juniper and Ricky Gray appeal to the

 United States Court of Appeals for the Fourth Circuit from the court’s July 8, 2016 order

 granting the motion of defendants Harold W. Clarke and David Zook for summary judgment

 and denying plaintiffs’ motion for summary judgment as moot, and from the judgment entered

 that day on that order.

                                              Respectfully submitted,

                                              THOMAS PORTER, et al.,

                                              By counsel
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 Dated: August 2, 2016

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                                        Certificate of Service

         I, Victor M. Glasberg, hereby certify that on this 2nd day of August 2016, I electronically
 filed the foregoing Notice of Appeal with the clerk of the court.

                                                                 //s// Victor M. Glasberg
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